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               DAVIS COUNTY SHERIFF'S OFFICE
               Jail Incident Report


     .Jail Incident: 1281                                  Tlme Reported:     19: 18:32 09/26/20
            Nature: VIOLATION                            l!:veut Beginning:   19:19:14 09/26/20
          Locntion:-                                               Ending:    19: l 9: 16 09/26/20
        Clenrnnce: Information Only                              Log Event:   -
       Disposition: (**/**/**)


      Officers Involved:
            A Hutchinson                           KBaer                                             TNix
               C Brown                             L Payne                                       W Terrell
              C Rummel                            M Sweeten
              E Sullivan                          SC Lewis


      Inmates Involved:
       398403 ABREU ANGEL

NARRATIVE
Inmate ABREU, Angel (Name# 398403) 1:efused to move cells. CERT was called in to assist.

SlJPJ>U:MENTAL: M Sweeten
on 09/26/2020 I,         sweeten was working in                 with        G1:u.·cia. At
approximately 19:16 Sgt.         Baer called over the radio for       to call for an ambulance due
to an inmate havin~ full body lacerations. I called dispatch then 911 since it was after business
hours. The ambulance arrived at approximately 19:25 and left with the inmate at 19:31. Garcia and I


       Sweeten 17193
        Garcia 17862

SlJP.J)LEMENTAL: E Sullivnn
                                I was assigned as Floor Deputy over Pod 6.




At approximately 1916, N\.trse Ashley called over the :radio f:or the Watch Commande1: to activate EMS
fo:r: multiple lacel·ations on Abreus body. At approximately 1918 CERT exited Quebec Housing Unit with
Abreu on a gurney. 1920 Sergeant Baer declared Quebec Housing Unit to be a crime scene and
instructed me to keep a log of who entered and exited the unit. The log is reflected as follows:
1910-Membel·s of the CERT team entered Quebec Housing Unit
1912-CERT members ente~·ed Quebec
1915-EMS Activated by Nurse Ashley
1918-CERT team exited Quebec Housi.ng Unit
1920-Quebec Housing Unit declared a Cdme Scene by Sergeant Baer
'.l'941•I, Deputy Sullivan, entered Quebec Housing Unit to complete a safety and secur.Hy round.
2034· Farmington PO Detective Johnson, Farmington Police Officer Hanson, Crime Lab Technician
Nicholls, Sergeant Baer and Corporal Nix entered Quebec Housing Unit




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2035-I, Deputy Sullivan, entered Quebec Housing Unit for safety and security rounds
2038-Sergeant Hutchinson entered Quebec Housing Unit
2042-Quebec Cell opened, Crime Scene entered for photos.
2044-Sergeant Hutchinson exited Quebec Housing Unit
2056-Officer Hans.iii Detective Johnson, Crime Lab exited 'cell ■
2058-Quebec. Cell-declared to be good to cleaned
2059-Officer Hanson, Detective Johnson, Crime Lab, Sergeant Baer, Corporal Nix, and myself exit
Quebec Housing Unit.
Deputy Sullivan


SUPPLEMENTAL: C Brown




The CERT team entered Quebec and talked with Abreu. At this time Sgt. Baer       me to call
                                                                                    Watching Sgt.
Hutchinson and the CERT team, Sgt. Hutchinson signaled for me to open            and CERT entered
the cell. Over the speaker all I could hear was unidentified grunting.
At 1916, Sgt, Baer called over the radio for             to call for an ambulance and asked me
to call ■-■Ito confirm that they were doing so. At approximately 1918 CERT exited Quebec with
Abreu on th_e gurney,
At 2034 Farmington PD Detective Johnson, Farmington Police Officer Hanson, Crime Lab Technician
Nicholls, ~gt. Baer and Cpl. Nix entered Quebec housing unit, They left around 2059.
At approximately 2121 1 Deputy List


JOS Brown -

SUPPLEMENTAL: E Sullivan
The following items were inventoried from inmate Abreu 1 s cell:
1 radio with 2 batteries
1,25 bags of Whey Protein
1 prayer rug
1 pillow (discarded, no name on pillow)
3 bowls
1 clear cup
2 green toothbrushes
2 tubes of toothpaste
2 bars of soap
2 bottles of vitamins
1 bottle of baby powder
2 bottles of lotion
1 tube triple antibiotic ointment
1 tube of hair gel
1 stick of deodorant
1 face mask
1 bag of safety dental floss
1 bottle of eye drops
1 bottle of lip balm
4 pencils
13 magazines with name on them
13 books with name on them
3 large yellow envelopes marked legal mail with several papers in each
2 manilla folders with several miscellaneous papers
2 blue folders with several miscellaneous papers, envelopes, pictures
1 ziploc baggie with several pictures of family
Several pictures sent via email

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4 composition notebooks, l of which contained several miscellaneous papers
Several large stacks of papers from court proceedings, Utah laws and other miscellaneous papers
Deputy Sullivan


SUPPLEMENTAL: Z Jolley
Abreu began flooding his cell   and placing soap on the floor. Abreu then covered up his window and
started moving water out from   under his cell door onto the walkway of the tier, Sgt. Hutchinson and
Cpl. Clark entered Quebec and   turned off the water to prevent a further mess from being created, As
of l500hrs Abreu is still non   compliant and yelling fuck you bitch and fucking pussy to me as I have
 conducted rounds.

SUPPLEMENTAL: T Nix
 On 09/26/2020 I received notice that the CERT team would be moving Inmate ABREU, ANGEL 561.19 to -
•due to his behavior throughout the day. We were told that he was refusing to cuff up on his own to
~e moved and also that he had poured liquids all over the floor as well as food.




                                                              We then went into Quebec and immediately
 Inmates started chanting and yelling, Once we got up to Quebec ■ I observed liquid and food all
over the floor outside of the cell as well as a towel covering his window. Sergeant Hutchinson gave
him a warning that if he didn 1 t submit to handcuffing force would be used, Inmate ABREU didn't
respond, Once the team was ready the door was opened. I saw Inmate Abreu by himself standing towards
 the back of the cell with his hands covering his stomach/chest area, He didn't comply with our
requests of getting down on his stomach. He ended up with his buttocks on the bottom bunk and again
was told to get down on his chest, I had control of his left arm and once we had him on his stomach
he was handcuffed and leg shackled, Almost the entire time he was screaming about his stomach and
once we looked at his stomach Deputy-Major requested an ambulance to repond due to a wound that
 was bleeding. As we were carrying him out I couldn't help but notice all the water, slick floor,
noodles, tupa fish, and tuna fish packs all of the floor. He was carried down the stairs and placed
on a gurney and taken    up
                          to - t o the ambulance,
     ■    ■             ■                                          . During this time both Nurses
would check on him and confirm he was ok and breathing, Once we got him out in the vehicle sally we
cut his clothing off due to seeing alot of blood down by his waistline area, Paramedics checks his
leg area to ensure he wasn't bleeding from anywhere else, We then lifted Inmate Abreu off of our
gurney and placed him on Farmington Fires gurney, He was then taken to a local hospital due to the
severity of his wounds,


 Shortly after this happened Detective Nichols wih Davis County Sheriffs Office and also a Detective
 Johnson with Farmington Police came to take pictures of the scene and also ask questions, Deputy
 Sullivan kept track of who was coming in and out of the crime scene.
 Inmate   ABREU, -ANGELaame-backfrom-the hospital shortly after leaving and was taken into the -
                  where a Detective Johnson from Farmington Police attempted to ask him questions. He
 requested a lawyer and refused to answer any questions, He was then taken to the ■■■■■I due to
 his attempts at self harm (minor abrasions, and a larger laceration) that we noticed before he went
 to the hospital, While in the ~ h e wanted to give us something he had up his rectum. Sgt
 Baer and I opened his c u f f p o r t ~ i m the tissue he requested, After a few minutes he was able
  to produce. what looked like a two inch bundle, Sgt Baer and I opened it up out in - - a n d found
  a silvertone ring and also 5 or 6 pieces of paper with phone numbers and addresaes~m.

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SUPPLEMENTAL: A Hutchinson
On September 26, 2020 at 1624 I received clearance from Cpt Meldrum that the the CERT team would be
activated to assist in the movement of ABREU, Angel #398403 from -           Deputies Rummel and
Terrell were called in to help. Cpl Nix, Deputy Lewis, Deputy Major and I were already on shift. -




At about 1920 the team entered Quebec housing unit and approached cell -    The floor was covered in
water, food and garbage coming from under the door of c e l l . ABREU, Angel 's cell. I gave the fair
  warning order to inmate ABREU to submit to search, handcuffing, and movement. The cell door was
covered with a towel and no response was given to my order. I signaled for the door and the team
entered. ABREU was straight back from the door when the team attached. I was - i n entering the
cell and observed blood on ABREU, ABREU resisted handcuffing but the team was able to secure his
hands behind his back and leg shackles were applied, Deputy Major called for a Delta response,
meaning we needed paramedics to respond, I echoed to Nurse Ashley that we needed to call the
ambulance, ABREU was carried from the cell, down the stairs, and placed face down on the stretcher.
ABREU was yelling calling us names, complaining about his stomach, and trying to kick while on the
stretcher. Deputy Rummel got on the stretcher to hold control of ABREU's lower legs, near his
calves. AB~~U claimed he didn't know how he was injured and even claimed that we stabbed him. ABREU
was transported on the stretcher to ■■■ to meet the paramedics; during transport we stopped to
place gauze on the wound, adjust for his discomfort, and to verify he was okay when he stopped
yelling, W~en we arrived in ■■■lparamedics and Farmington fire was just arriving. Medical
personal evaluated and gave medical care; the team assisted with removing Abreu•s clothing and
moving to the new stretcher.
I left as they were loading ABREU in the ambulance so I could gather gear to ride in the ambulance
to the hospital. I rode in the front seat of the ambulance to the hospital. Deputies Rummel and
Terrell followed in a DCSO vehicle. Once at the hospital ABREU was taken to a trauma room and was
given medical attention. I waited to assist answedng any questions I could for medical staff, I
left the hospital with Farmington ambulance and waited at the jail for Deputies Terrell and Rummel
to return with inmate ABREU, ABREU returned to the jail at approx 2200, ABREU refused to speak with
the Detective from Farmington Pd who was called into investigate the incident. ABREU was escorted to



-
  the ■■■■■I and was placed on a 15 minute watch,
 -Sgt Amy Hutchinson


SUPPLEMENTAL: A Hutchinson
Report entered for Deputy   Ill Major
On 9/26/2020 I was advised of a CERT operation at the Davis County Jail. Sgt. Hutchinson informed
me that an inmate had barricaded himself inside a cell in Quebec unit. I was informed the inmate
had flooded his cell and covered the cell window which prevented anyone from seeing inside.
I responded to the                           and met with Sgt. Hutchinson.
Nix, Deputy Terrell, Deputy Lewis and Deputy Rummell, Sgt. Hutchison
                                             el Abreu had barricaded himself inside his ce
Hutchinson                                                                       He also had a
history of
 attempted




 responded to Quebec unit. Upon arrival we walked up stairs to the upper tier. As we approached the
  cell that Inmate Abreu was being housed, I could see a large amount of water mixed with various
 items outside the cell. I recognized these items as food and other commissary mixed with water,

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                                                              Sgt. Hutchinson clearly and loudly
read instructions for Inmate Abreu to submit to handcuffing. Sgt. Hutchinson informed Inmate Abreu
that failure to follow instructions would result in the use of force. Inmate Abreu did not follow
the instructions that Sgt. Hutch:l.nson clearly announced.
Sgt. Hutchinson then opened the cell door and the team made entry, I could immediately see that
there was a significant amount of blood on Inmates Abreus arms and midsection. As I approached
Inmate Abreu, I observed him to be in a guarded position, From my point of view, I could not see
his hands, I then instructed Inmate Abreu to put his hands in the air. Inmate Abreu did not follow
 these instructions.
As the team approached Inmate Abreu he backed up to the bunk in the back of his cell. I then made
contact and' secured Inmate Abreus left arm. Cpl. Nix made contact and secured Inmate Abreus right
arm. His legs were secured by Deputies Terrell and Rummel. Inmate Abreu offered passive
resistance. He was successfully handcuffed behind his back. Inmate Abreu then began yelling that
his stomach hurt. I then observed a large laceration on the abdominal area. I could see the wound
was bleeding and there was a large amount of blood on his abdomen and pelvic area. I then requested
 that Sgt. Hutchinson request a delta response medical as I felt the laceration was significant and
would necessitate a visit to a trauma center. We then left the cell with inmate Abreu. I did not
observe any weapon in the cell while I was there.
Inmate Abreu was then carried down the stairs and placed on a gurney. Inmate Abreu was then taken
up to -      :i.n order to meet EMS in the vehicle sally. During transport I observed Deputy Rummell
sitting on inmate Abreus lower legs. At no time was inmate Abreus airway compromised.
Upon arrival to               I InmateAbreu was assessed and treated by DCSO paramedics and l7armington F:i.re
Department personnel,           Inmate Abreu was then transported to Davis Hospital.




 SUPPLEMENTAL: K Baer
 Inmate Abreu was housed in the -
 I was in the horseshoe after CERT entered the cell that inmate Abreu was housed in. Nurse Ashley
-         called for the radio for me to active EMS. I then told ■■■-■■•■ to get an ambulance
 here for inmate Abreu, At this moment I did not know what injuries or issues inmate Abreu was
 having,
Once Nurse Ashley and CERT came down the stairs with inmate Abreu I asked for additional           information
 to give to ■■••· Nurse Ashley told me he had multiple lacerations on his abdomen and              possibly
his wrists. I then relayed that informatio11 over the radio to ■■■I, '£he cell door was            seo1.1red by
a CERT member and I assigned Deputy -     Sullivan to document all movement inside QUEBEC          and ti::·eat
that area like a crime scene, I also told him not to open cell -   until instructed to do          so.
Inmate Abreu was taken to Davis Hospital by ambulance with Sergeant Hutchinson, Deputies Terrell and
 Rummel,
Our Administration was notified, Crime Lab was call in for documentation purposes as well as
Farmington PD for an outside agency investigation.
Corporal Nix and I escorted Farmington PD and Deputy Nicholls around all areas they requested. I was
 informed by Sergeant Hutchinson when the hospital took scans of inmate Abreus injury they could see
 a ring and, papers in his anal cavity. They said it wasnt a medical emergency and would pass on its
own. Inmate Abreu was brought back from the hospital. Medical came to ■■■ upon his arrival and
did an evai'uation on him. Farmington PD was still here and attempted to talk to inmate Abreu at
which time he requested his lawyer for all questioning. Inmate Abreu was then escorted to the -
 for housing. He was placed on a 15 minute watch for what I believe to be self-inflicted i n j u r ~
Sergeant               Baer

SUPPLEMENTAL: SC Lewis
SUBJECT:               SUPPLEMENTAL REPORT ABREU, .Angel (398403) 9/28/2020
INCIDENT#:           1281


INCIDENT TYPE:                                Forced cell entry.
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               On 9/26/2020 at approximately 16:30 I was told the CERT team would be activated to
assist in moving inmate ABREU, ANGEL (398403) from his cell in Quebec to . . Inmate Abreu had
barricaded himself in his cell, had covered his window with a towel and other materials, and was
currently flooding his cell with water, soap, and other materials he had available in his cell. I
was already on shift so I gathered my gear and continued to work while I waited for other team
members to arrive.




 was covered with blankets, water, trash, and what looked like food and other materials he
inside his cell, It appeared he was preparing for a fight by making the area as hazardous as
possible.
               Sgt. Hutchinson gave a clear command at the door for inmate ABREU to submit to
handcuffing, strip search, and movement or force would be used against him and asked for his
response. Inmate ABREU did not respond and Sgt, Hutchinson called for the door to be opened.
                The team entered the cell. I heard Deputy Major give the command show me your hands
as I rounded the corner and entered the cell. I saw inmate ABREU moving towards the back of his
cell. He was clutching his abdomen with his hands. I wondered briefly if he was concealing a
weapon of some kind.                 the team attached to inmate ABREU and moved him into a position
where he could be cuffed. Inmate ABREU was instructed at least once to stop resisting and comply.
The inmate .did not stop resisting. As the team got inmate ABREU under control I supplied them with
the cuffs and shackles that were applied, Inmate ABREU was shouting and complaining about his
stomach, I did notice some blood on the back of his clothing as he was being cuffed, Deputy Major
was calling for a Delta Response because it appeared that the inmate had harmed himself.
                Inmate ABREU was secured and lifted from the lower bunk in his cell. I tried to back
 out of the cell and keep the door open for the team to exit. I had to push blankets and trash out
of the way with my feet to get the door to open wide enough. Inmate ABREU was carried out of his
cell and I secured the cell door,
Inmate ABREU was still yelling about his stomach, threatening us, and using abusive and vulgar
language. He was carried down the stairs and placed on the stretcher.                 he was wheeled
 out of the" Quebec housing unit and towards
               The team stopped a couple of times to make sure that inmate ABREU was doing okay.
Deputy Rummel was positioned on his legs and repositioned several times to adjust for possible
discomfort. Deputy Major was asking inmate ABREU what he had used to hurt himself so we could help
him.
Inmate ABREU refused to answer and even said I didnt do this, you guys stabbed me Deputy Major was
repeatedly checking on the inmates condition. The team stopped at one point to check on inmate
ABREUs wound and to bandage.
I heard the nurses say that the direct pressure on the wound because of his positioning on the
gurney was doing a good job. The inmates vitals were checked once again in the ■■- hallway out
of concern for his airway and breathing. The nurses confirmed that he was responsive and breathing
so we continued to the vehicle sally.
                 While we waited for the ambulance to arrive              Deputy Major checked the
 inmates vitals again and hooked him up to machines to monitor him.   Inmate ABREUs clothing was
 removed and he was checked for other wounds or further damage,
 He was moved from our gurney to another and was placed in the ambulance.
 Sgt. Hutchinson got into the passenger seat of the ambulance
 ambulance had cleared the building.

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This was the end of my involvement,

SUPPLEMENTAL: W Terrell
At approximately 1730 hours, I received a call at my residence from Sergeant Amy Hutchinson.
Sergeant Hutchinson asked if I was able to respond to duty in order to assist in moving inmate ANGEL
 ABREU from Quebec housing unit to -housing unit. Sergeant Hutchinson informed me that ABREO was
 refusing to cooperate and he was also making preparations to fight.
I arrived the DCSO and rendezvoused with other CERT members in the Sergeants office,
                                                    due to ABREU flooding his cell with toilet water,
                                    t e    oor to create slipping and falling hazards, I finished
donning the remainder                   gear and waited for other team members to arrive.
             "
Once all CERT members arrived,
                     Approximately 1910 hours,
discussed our plan of entry with JOS Brown,
The team eritered Quebec housing unit and proceeded to cell -   where ABREU was housed. Sergeant
Hutchinson was our spokesperson and she communicated with ABREU. She requested his compliance and
he responded negatively.                                                              and Sergeant
Hutchinson gave the signal to JOS Brown to open the cell, and the team began entry.
Once the cell door opened, I observed approximately 1 inch of standing water on the floor with a
great deal of food and unknown debris floating, The words Fuck You were written in a brown
substance on the left wall. I also observed ABREU standing next to the bunk, with his hands near
his waist (palms up) covered in what appeared to be blood, The blood-like substance had soaked
through his shirt and onto his pants. My initial thought is that ABREU had a sharp weapon in his
possession.
The team proceeded forward to engage ABREU. He quickly leaned over onto his bunk and began to
scream and shout that his stomach was hurting, Restraints were applied to his wrist and ankles.
Deputy Major instructed us to roll ABREU over to discern the location and extent of the injury to
ABREU. Deputy Major asked ABREU, What did you stab yourself with? ABREU shouted, You fucking
stabbed met. Deputy Major conveyed to Nurse Ashley that an ambulance was needed, I believe I heard
the phrase p-response,
ABREU was carried out of the cell, down the stairs, 1and placed onto a gurney, He was wheeled down
to the - t o meet the responding ambulance. While on the way to•■• ABREU complained about
his stomach hurting, The nurses and members of the team tried to keep bandages and direct pressure
on ABREUs wound.
The responding ambulance arrived in the vehicle sally at the same time as we arrived from housing
with ABREU. The paramedics began their examinations and procedures. I was directed to gather
necessary equipment to stay with ABREU while he was at the hospital. Sergeant Hutchinson rode in
the ambulance to the hospital.
Deputy Rummel and I                   and followed the ambulance to Davis hospital, Once there,
medical professionals attended to ABREU. ABREU was examined via X-ray, MRI, and several other
methods~ They discovered that ABREU had shoved what appeared to resemble a ring and a plastic bag
into his rectum. When questioned by medical professionals, ABREU responded that he placed the items
 in his anus because he did not want to have them confiscated when he was moved to maximum security
housing, The medical attendees said that the items would pass normally, and they were nothing that
would cause bodily damage.
Once all examinations were completed, medical personnel cleaned ABREUs wound again, and began to
apply stap~es to seal the wound. They then stated that they would discharge ABREU after
approximately 30 minutes of observation. During that observation period, ABREU commented to me that
 he did not appreciate the fact that I laughed at a joke that was made by the doctor. I asked what
joke he was referring to. ABREO said the doctor made a remark about him making bad life decisions,
and I laughed at the comment, I then responded to ABREU, Why are you still trying to sneak stuff
into the facility? ABREU responded with, I got haters on the outside, I cant help what they send to


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 me, I. sdd, OK. At that point, I just decided to stop talking to ABREU and began counting down the
 time for his observation to end.
At approximately 2119 hours, ABREU was discharged from Davis hospital and we returned to the Deso.
Crime scene techs met us in the vehicle sally and took pictures of ABREU and his bandaged wound
before bringing him back into the facility. ABREU was again examined by Nurse Ashley prior to being
 escorted to t h e - · ABREU was placed into the ■■■■■lwithout incident and given a
suicide smock and gown,
E:nd of Report



-
Terrell:


SUPPLEMENTAL: C Rummel
On 9/26/2020 at approximately 0545 I was asked to respond to the Davis County Jail for CERT team

                                                                           Room Sgt Hutchinson -

Sgt. Hutchinson stated inmate Angel Abreu had barricaded himself inside his cell. Sgt Hutchinson
stated Abreu would be moved from Q u e b e c - Sgt. Hutchinson also reported that Inmate Abreu
 was incarcerated for charges of attem ted homicide, kidnapping and assault. Sgt. Hutchinson
reported that inmate Abreu also had                                      in his cell while in Davis
Count Jail.




We then went to Pod Six and entered Quebec housing unit. Once we got upstairs to Que ec
see water and food all over the floor in front on Abreu Cell. Sgt Hutchinson then called out
and stated that he needed to submit to handcuffing or force would be used. Abreu did not respond,
Sgt Hutchinson then opened the door. We made entry into the cell and Abreu moved to the back of the
cell, once peputy Major and Cpl Nix secured Abreu arms. Deputy Terrell and I secured his legs. We
then applied hand cuffs and Shackles. Once Abreu was restrained he was yelling that his stomach was
hurt. Deputy Major then looked at Abreus stomach and he immediately requested a Delta response. I
could see blood coming from Abreus stomach. We then needed to move Abreu out of the cell and down to
 the gurney, As we left the cell I could see there was opened food mixed into the water on the
floor. Once we got down the stairs Abreu was placed face down on the gurney. Abreu then was trying
to kick his legs, I then got on the gurney and placed Abreus legs flat and I put my leg across his
calves. The gurney was then pushed to ■■•I While being pushed up to l■■■ oeputy Major asked
Abreu what he stabbed himself with? Abreu then claimed that we did this to him. we kept pushing the
gurney up to ■■■I The nurses stopped us at                      then applied a bandage to Abreus
stomach. Abreu was no longer kicking his legs I then got off his claves. Abreu was then pushed on
the gurney all the way to the vehicle sally, Davis County Paramedics were waiting, once we got into
the Vehicle. Sally Abreu cloths were cut off to check for further wounds. After his cloths were
removed Abreu was moved from our gurney to Farmington Paramedics gurney. once Abreu was on
Farmingtons gurney Deputy Terrell and I were assigned to go to the hospital.
Deputy Terrell and I drove to the hospital and we stayed with Abreu while there.
During a CAT scan once of the nurses saw a round object inside of Abreu lower pelvis. The Nurse and
I walked out and the Nurse asked Abreu was he had placed up his butt. Abreu told us it was his
sliver ring. Abreu also said that he had phone numbers and address wrapped up in plastic.
The nurses stated that he would not need surgery to retrieve it. They said it would pass on its own.
 The Doctor. told us that Abreu did not need to stay at the hospital he told us that he wanted to
watch Abreus vitals for another thirty minutes. Once he watched the Vitals the Hospital released
Abreu. We then returned Abreu back to the Davis County Jail at approximately 21:30,
When we arrived back to the jail we were met with Farmington Detective and Davis County Crime lab.
They took photos of Abreu. Once we took Photos of Abreu the Farmington Detective questioned Abreu.
Abreu said I want an attorney. The Farmington Detective then said he was done with questions.


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Cpl Nix Deputy, Terrell and I and a few other deputies then escorted Abreu to the - u p in
        once in the cell Abreu was given a Safety gown. We removed all restraints and ex:i.ted the
cell without further incident.
End of report.
D20-06B42    ,.
Rummel-




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